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12
13                             UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15
16 UNITED STATES OF AMERICA,                      Case No. 2:23-cr-00599-MCS
17               Plaintiff,                       Hon. Mark C. Scarsi
18         vs.                                    DEFENDANT’S REQUEST FOR
                                                  JUDICIAL NOTICE
19 ROBERT HUNTER BIDEN,
20               Defendant.                       Date: March 27, 2024
                                                  Time: 1:00 PM
21                                                Place: Courtroom 7C
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                                DEFENDANT’S REQUEST FOR JUDICIAL NOTICE
                                     CASE NO. 2:23-CR-00599-MCS-1
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 1         Pursuant to Rule 201 of the Federal Rules of Evidence, Defendant Robert Hunter
 2 Biden requests that the Court take judicial notice of the following documents cited in his
 3 Reply in Support of his Motion to Dismiss Counts 1–4 for Improper Venue:
 4      • Exhibit 1: A true and correct copy of the Misdemeanor Information as to Robert
 5         Hunter Biden, filed on June 20, 2023 in the District of Delaware (No. 1:23-mj-
 6         00274-MN-1) (Docket Entry 1).
 7      • Exhibit 2: A true and correct copy of the Felony Information as to Robert Hunter
 8         Biden, filed on June 20, 2023 in the District of Delaware (No. 1:23-cr-00061-MN-
 9         1) (Docket Entry 2).
10         The Documents Are Judicially Noticeable Court Filings. Rule 201 permits a
11 court to notice a fact “if it is not subject to reasonable dispute.” Fed. R. Evid. 201(b). A
12 fact is “not subject to reasonable dispute” if it is “generally known,” or “can be accurately
13 and readily determined from sources whose accuracy cannot reasonably be questioned.”
14 Fed. R. Evid. 201(b)(1)-(2). This includes proceedings and filings in other courts if those
15 proceedings or filings are related to the matters at issue. See Grivas v. Metagenics, Inc.,
16 2018 WL 6185977, at *2 (C.D. Cal. Jan. 4, 2018). The Informations filed in the District
17 of Delaware were brought by the same prosecutors in a related proceeding against Mr.
18 Biden.
19         The Court may therefore appropriately take judicial notice of these documents.
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21
22 Dated: March 18, 2024                    Respectfully submitted,
23                                          By: /s/ Angela M. Machala
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     Case 2:23-cr-00599-MCS Document 53-1 Filed 03/18/24 Page 3 of 3 Page ID #:1045



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                                  CASE NO. 2:23-CR-00599-MCS-1
